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                                      EXHIBIT 5


       2/16/2024 Officers’ Opposition to Motion to Intervene (Civil Rights Dkt. 70)
                 o Attorney Certification of J. Brooks DiDonato in Support of Opposition to
                   Motion to Intervene on Behalf of Defendants (Civil Rights Dkt. 70-1)
                    o A- 9/30/2020 Koury letter to Candace Jorden Claims Resolution
                    o B- 4/18/2023 Koury email to Brooks DiDonato cc Kyle Mitchell
                    o C- 1/13/2023 Koury letters to Jose Abo, Claims Resolution
                    o D- 8/23- 8/24/2023 Emails Koury/DiDonato
                    o E- 1/9/2024 DiDonato email to Koury cc Marc Board
                    o F- 12/5/2023 DiDonato letter to Koury
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                                                                                                                Parker McCay P.A.
                                                                                                     9000 Midlantic Drive, Suite 300
                                                                                                                      P.O. Box 5054
                                                                                                Mount Laurel, New Jersey 08054-1539

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                                                                                                        J. Brooks DiDonato, Esquire
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                                                                                                                       F: 856-494-1715
                                                                                                            bdidonato@parkermccay.com




                                                  February 16, 2024


                                                                                                  File No. 15108-91/ JBD


 The Honorable Magistrate Douglas E. Arpert
 UNITED STATES DISTRICT COURT
 US Courthouse/Clarkson S. Fisher Building
 402 East State Street
 Trenton, NJ 08608

                          Re:        TYSHON EDWARDS v CITY OF TRENTON, ET AL
                                     Civil Action: 3:20-cv-13552-ZNQ-DEA

 Dear Magistrate Judge Arpert,

        As you are aware, I represented defendants, Johnathon Cincilla, Nicholas Mahan, Eric

 Avalos, and Anthony Kubish (collectively, the “Officers”) with respect to the above matter and

 was instrumental in negotiating the proposed settlement to be heard by Your Honor on February

 20, 2024, with counsel for the plaintiff. While the Officers have been dismissed without prejudice,

 counsel for the City of Trenton (the “City”) has asked me to correct several misstatements made

 in the Motion to Intervene filed on behalf of Certain Underwriters of Lloyd’s of London

 (“Lloyds”), which is currently returnable on March 4, 2024.

        First, I would like to make it clear that Lloyd’s, through its representatives David Koury,

 Esq. and Marc Board, were kept apprised of all material events occurring in this matter, related to

 settlement and otherwise, by both myself and the City of Trenton’s Third Party adjuster Jose’ Abo.

 Indeed, Mr. Koury and I discussed the matter countless times, exchanged volumes of email, and



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 he was ordered to be present for a Settlement Conference in Your Honor’s Courtroom, which he

 attended. Despite my repeatedly imploring both Mr. Koury and Mr. Board to contribute towards

 the settlement of the case, neither ever offered a single cent towards settlement, by way of direct

 payment or reimbursement.

            More specifically, current counsel for Lloyd’s1 is not accurate in his representations that:

 a) Lloyd’s never denied coverage to Trenton or the Officers; b) I refused to discuss Lloyd’s

 coverage questions with Mr. Koury; c) Lloyd’s was not advised of the pending settlement until the

 motion to approve same was filed; d) the City inexplicably settled the case for $5,000,000.00

 without Lloyd’s knowledge or consent2; and, e) the settlement attempts to bypass Lloyd’s rights.

 I will address each of these positions briefly below.

            On September 30, 2020, Lloyd’s forwarded a 16 page coverage letter to Candace Jordan,

 the claims representative handling the claim for the City’s Third Party Administrator (“TPA”),

 laboriously setting forth the allegations in the Complaint and its position with respect to its

 coverage for same. Ultimately, it indicates in multiple spots that Lloyd’s is at that time Reserving

 its Rights to deny coverage for plaintiff’s claims3. Atty. Cert., Exhibit “A”. More recently, on April

 18, 2023, Mr. Koury, then representing Lloyd’s, sent me an email that stated: “[A]s set forth in

 Underwriter’s January 13, 2023 coverage position letter, Underwriters do not believe that




 1 Notably not Mr. Koury, but another attorney from his firm.


 2
     Implying that one or both was necessary.

 3
     Interestingly, current counsel for Lloyd’s repeatedly suggests that the $5,000,000 settlement is somehow
     outrageous, but in this same correspondence recognized at page three that “[I]n paragraph 8 of the Tort Claim, Mr.
     Edwards states that he is seeking in excess of $20,000,000 in damages, plus attorneys’ fees, costs and interest.”
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 coverage exists for this matter.” Atty. Cert., Exhibits “B” and “C”4. Thus, Lloyd’s has both

 Reserved its Rights and indicated that it does not believe there is coverage under the policy for

 plaintiff’s claims on multiple occasions.

        Lloyd’s current counsel also represents to the court that in response to my notifying Mr.

 Koury and Mr. Board of my intention to resolve the case with counsel for the plaintiff he “outlined”

 to me that there were coverage issues that needed to be discussed, and infers I did not respond to

 that request; neither are true. First, Mr. Koury and I discussed the coverage issues in this case more

 times than I can remember, including during the Settlement Conference he was compelled by court

 order to attend; he knew well what my position on settlement was. In that regard, I sent an email

 with multiple attachments to him on September 22, 2023, refuting his position and that of Lloyd’s

 that no coverage was owed under the policy because plaintiff was alleging intentional actions on

 the part of the Officers. Further, in an email dated July 20, 2023, I explained to Mr. Koury and Mr.

 Board: that the policy’s SIR had been fully satisfied; that its continued refusal to assist with the

 negotiation of a settlement constituted “Bad Faith”: that if Lloyd’s did not immediately change its

 position with respect to same I would be forced to initiate a coverage action against it; that

 plaintiff’s position was that the average verdict/settlement value of similar claims was $99,630.18

 per day of incarceration, meaning the result for a 212 day wrongful incarceration could be

 $21,121,598.02; and, that plaintiff had raised the issue of a Settlement and Assignment of its Rights

 against Lloyd’s that I would be discussing with the client. Atty. Cert., Exhibit “D”. Finally, I

 responded to Mr. Koury’s email of January 9, 2024, suggesting that there were still coverage issues

 to be discussed, by way of an email dated that same date that, indicating that:
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            “You and I have discussed what I believe to be the non-existent
            coverage issues. I have explained to you and Marc why it is a covered
            claim, and nevertheless you have never acknowledged that, nor have
            you (on behalf of the carrier) offered one dime to assist with the
            settlement of the case.

            In fact, you have denied coverage, accepted it with an ROR, and then
            offered some convoluted formula that was a combination of both, but
            all resulted in the same thing: not one penny towards settling the case,
            despite the fact that you have seen concrete evidence, in terms of
            verdict and settlement research, indicating that the case could
            potentially result in an 8-figure award, thereby exposing your
            client’s insured (COT) to a very large excess verdict.

            In short, I am not sure what there is to speak about.
            However, if you think there is, feel free to call.” Atty. Cert, Exhibit “E”.

 Mr. Koury never responded.

        Lloyd’s was not advised of the settlement number prior to the Motion to Settle, but it was

 advised that a settlement was being discussed, including one that included an assignment of the

 defendants’ rights under the policy to the plaintiff. As noted above, this was raised in my email to

 him on July 3, 2023. I then sent then counsel for Lloyd’s a letter dated December 5, 2023, advising

 him that while Lloyd’s prior denial of coverage and Reservation of Rights meant I was not

 obligated to inform it of the status of settlement, I was, nevertheless, advising him that the City

 intended to settle the litigation with plaintiff, and that the result of that settlement would exhaust

 the City’s SIR and involve liability for Lloyd’s under the policy and for its Bad Faith. Atty. Cert.,

 Exhibit “F”. That letter concluded by encouraging him to immediately reach out to plaintiff’s

 counsel if Lloyd’s wished to participate in the settlement discussion.

        It has never been the intent of the defendants to exclude Lloyd’s from the settlement

 discussions in the case; to the contrary, I repeatedly implored both Mr. Koury and Mr. Board to
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 get involved and to contribute to a potential settlement, both of which they flatly refused to do. I

 further advised both counsel and Mr. Board that I believed they were acting in Bad Faith towards

 the City relative to that refusal, and that a failure to rectify their behavior would result in a coverage

 action by the defendants regarding same or a settlement involving an assignment of those rights to

 the plaintiff. Moreover, while I did initially estimate the value of the file at less than $1,000,000,

 I also advised them that plaintiff’s attorneys had done verdict/settlement research credibly

 indicating that the value of the claim could exceed $20,000,000, as indicated by plaintiff’s counsel

 as far back as 2020.

         Lastly, we note that Lloyd’s Reservation of Rights is not without consequence. In Evanston

 Ins. Co. v. Treister, 794 F. Supp 560, 572 (Dist. Ct. V.I. 1992), the court held that while an

 insurance company has a right to operate under a Reservation of Rights with respect to a claim

 against its insured, it cannot later complain when the insured settles the claim without its consent,

 especially where by doing so it does not compromise the carrier’s reserved right to contest

 coverage. (citing, Cay Divers, Inc. v. Raven, 812, F.2d 866, 871 (3d Cir. 1987). Here, as in those

 cases, faced with an insurance company that flatly refused to participate in any settlement

 negotiations and Reserved its Right to deny coverage for plaintiff’s claim, and the potential of a

 verdict in the $15,000,000-$20,000,000+ range, the City chose to settle the case for a sum

 substantially less than that potential. By doing so it protected its interests, and even Lloyd’s as

 plaintiff’s counsel initial demand was $9,500,000.00 before the City managed to negotiate that

 sum down to $5,000,000, and in no way compromised Lloyd’s ability to contest coverage.
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          I hope this has clarified some of the issues for the court.

                                                         Respectfully submitted,

                                                         s/ J. Brooks DiDonato
                                                         J. BROOKS DIDONATO
 /de
 Attachment
 Cc:   John S. Stapleton, Esq.
       Jeffrey L. Nash, Esq.
       Wesley Bridges, Esq.
       Rashaan S. Williams, Esq.
       Charles R.G. Simmons, Esq.
       David Koury, Esq.
       Marc Board
       Brian H. Leinhauser, Esq.




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